Case 1:14-cv-00840-RHB       ECF No. 62, PageID.1761   Filed 04/13/16   Page 1 of 3




                    UNITED STATES DISTRICT COURT
           WESTERN DISTRICT OF MICHIGAN - SOUTHERN DIVISION


KATRINA LOVE-MCKINLEY,                            Case No. 1:14-cv-00840-RHB
as Personal Representative of the
ESTATE OF DAHNONTAE R. MCKINLEY,                  Honorable Robert Holmes Bell

             Plaintiff,

v.

COUNTY OF MUSKEGON, et al.,

            Defendants.
_____________________________________________________________________________/

 Stephen R. Drew (P24323)               Douglas M. Hughes (P30958)
 Adam C. Sturdivant (P72285)            Horia Razvan Neagos (P73550)
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_____________________________________________________________________________/




     PLAINTIFF’S UNOPPOSED MOTION FOR APPROVAL OF SETTLEMENT
Case 1:14-cv-00840-RHB         ECF No. 62, PageID.1762          Filed 04/13/16     Page 2 of 3




      PLAINTIFF’S UNOPPOSED MOTION FOR APPROVAL OF SETTLEMENT

       The Estate of Dahnontae R. McKinley, by Katrina Love-McKinley, as Personal

Representative, by and through her attorneys Drew, Cooper & Anding, file this Motion for

Approval of Settlement pursuant to MCR 2.119, MCR 2.420, and MCL 600.2922, and Local Rule

7.1 seeking this Court’s approval of a settlement agreement reached between The Estate of

Dahnontae R. McKinley and Defendants County of Muskegon, Roesler, Stout, Smith, Topp,

Roberson, Theilbar, Ahrens, Drabczyk, Herman, and Jones-Burton. The settlement was reached in

a Voluntary Facilitative Mediation session held on March 7, 2016. The Motion is supported by the

attached brief.

       Pursuant to Local Rule 7.1(d), Plaintiff’s counsel contacted Defendants’ counsel on March

31, 2016 in an attempt to obtain concurrence with this Motion. Concurrence was granted by

Defendants’ counsel on April 8, 2016.

                                                   Respectfully submitted,


Dated: April 13, 2016                              By: /s/ Stephen R. Drew
                                                          Stephen R. Drew (P24323)
                                                          Adam C. Sturdivant (P72285)
                                                          DREW, COOPER & ANDING
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Case 1:14-cv-00840-RHB           ECF No. 62, PageID.1763            Filed 04/13/16      Page 3 of 3




                                 CERTIFICATE OF SERVICE

       The foregoing document was filed electronically on the 13th day of April 2016 in

accordance with the Court’s ECF system. Notice of this filing will be sent to all parties by operation

of the Court’s ECF system.

                                                      Respectfully submitted,


Dated: April 13, 2016                                 By: /s/ Stephen R. Drew
                                                             Stephen R. Drew (P24323)
                                                             Adam C. Sturdivant (P72285)
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